                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
v.                                           )       Case No. 4:11-CR-00263-01-BCW
                                             )
MARCO A. VERDUZCO-MORETT,                    )
                                             )
                      Defendant.             )

                                            ORDER

       Before the Court is Magistrate Judge Robert E. Larsen’s Report and Recommendation

(Doc. #107) denying Defendant’s Motion to Reopen Suppression Hearing (Doc. #91). Defendant

filed objections (Doc. #112) to the Report and Recommendation. After an independent review of

the record, the applicable law, and the parties’ arguments, the Court adopts Magistrate Judge

Larsen’s findings of fact and conclusions of law. Accordingly, it is hereby

       ORDERED, for the reasons stated in the Report and Recommendation (Doc. #107),

Defendant’s Motion to Reopen Suppression Hearing (Doc. #91) is DENIED. It is further

       ORDERED Magistrate Judge Larsen’s Report and Recommendation be attached to and

made part of this Order.

       IT IS SO ORDERED.


DATED: April 16, 2014                                /s/ Brian C. Wimes
                                                     JUDGE BRIAN C. WIMES
                                                     UNITED STATES DISTRICT COURT




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